                           IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    DANVILLE DIVISION


  Christopher Cantwell,
         Plaintiff,                                      Civil Action No. 3:17cv00089

  v.                                                     Judge: Norman K. Moon


  Emily Florence Gorcenski
  And
  Kristopher Goad
         Defendants.

                                    Amended Complaint
          This action seeks relief for, inter alia, the malicious prosecution of the Plaintiff by the

  Defendants, Gorcenski’s stalking, and relief for their deprivation of his civil rights.


                                         Nature of the Action


       1. Plaintiff Chris Cantwell was invited to speak in support of the Monuments at a rally in

          Charlottesville on August 12, 2017. Defendant Gorcenski resolved to “take him out,”

          and enlisted others to assist. Gorcenski was a member of a squad intending to attack

          Cantwell at his fan meet and greet in the Charlottesville Wal Mart parking lot on August

          11. When the squad found out he was armed, the sheriff was called on him for

          “brandishing” said firearm. That evening, Gorcenski sought out Cantwell in a crowd of

          several hundred torchlight marchers to taunt him about the meet and greet. Later that

          night, Cantwell and divers groups and individuals (hereinafter the “Monumentals”)

          participated in a political rally on public property belonging to the Commonwealth of

          Virginia, pursuant to the rights guaranteed to them by the First Amendment to the United




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        States Constitution and the Constitution of Virginia. Upon reaching the Thomas

        Jefferson Monument at the Rotunda, they were met by a small group of revolutionary

        communists, socialists, and/or anarchists (hereinafter Antifa), which included Gor4censki

        and Goad. Antifa was also exercising rights guaranteed by the First Amendment to the

        United States Constitution and the Constitution of Virginia. As is their pattern and

        practice, Antifa attacked the Monumentals. In the ensuing week, Defendants Gorcenski

        and Goad swore out false and fraudulent criminal warrants against Plaintiff, in an effort

        to stop his exercise of his rights guaranteed by the First Amendment to the United States

        Constitution and the Constitution of Virginia, and also maliciously punish, discredit, vex,

        and harass him. The next day, and thereafter, Gorcenski continued stalking Plaintiff.



                                      Jurisdiction and Venue



     2. This court has jurisdiction pursuant to 28 U.S.C. 1332, diversity, and also under 28 U.S.C.

        1331, cases arising under the Constitution and laws of the United States. Plaintiff is a

        resident of New Hampshire. Defendants are residents of Virginia, and the amount in

        controversy exceeds $75,000.00.

     3. Venue is proper in the Western District of Virginia pursuant to 28 U.S.C. 1391(b) because

        Plaintiff’s claims arose in Charlottesville, Virginia.


                                                   Parties

     4. Plaintiff Christopher Cantwell is a resident of Keene, New Hampshire. Cantwell was to be

        a speaker at a political rally in Charlottesville on August 12, 2017. He was a mere

        participant in the August 11, 2017 rally at the Jefferson Monument in Charlottesville.




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         Because of his political positions, he regularly receives threats of death and bodily injury.

         Exhibit A.

      5. Defendant Edward Gorcenski is a white male resident of Charlottesville, Virginia who had

         a name change to Emily Florence Gorcenski, and pretends to be a “transgender woman of

         color.1” On August 11, 2017, Gorcenski was wearing black pants, a green t shirt, and

         carrying a purse on a strap. Exhibit B. Gorcenski is tied into the Antifa cell centered in

         Philadelphia, hereinafter “Philly Antifa.”


      6. Defendant Kristopher Goad is a resident of Richmond, Virginia. He is in communication

         with Gorcenski, violent, and also connected to Philly Antifa. Before August 11, 2017,

         Defendant had never seen Chris Cantwell, Plaintiff herein. On August 11, 2017, Goad

         was wearing glasses, sported a disco mustache, had longish hair, and wore a blue jean

         jacket. Exhibit C.

                                  Other Important Persons and Entities

      7. The Antifa Wal Mart Squad consists of Paul Minton, Brian Bozicek, Mikey Longo, Jr.,

         and two others, believed to be Shawn Menne and Robert Medallo. All are adherents of

         Philly Antifa.

      8. “Beanyman” is an adherent of Antifa. He is a short white male with a beard. On August

         11, 2017, he wore a brown-green t shirt and a black beany. Exhibit D




  1
   Sex is determined at birth. Dotson v. Mountain Mission School, Inc., 590 F.Supp. 583 (W.D.
  Va., 1984), citing Novotny v. Great American Federal Savings & Loan Assoc., 584 F.2d 1235,
  1243 (3d Cir.1978) (en banc), rev'd on other grounds, 442 U.S. 366, 99 S.Ct. 2345, 60 L.Ed.2d
  957 (1979); Knussman v. State, 272 F.3d 625 (4th Cir., 2001), citing Frontiero v. Richardson,
  411 U.S. 677, 686 (1973).




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     9. Thomas Jackson Massey is an adherent of Philly Antifa. He is a tall white male, with a

        beard. On August 11, 2017, he was wearing an orange long sleeved t shirt under a blue

        short sleeved short sleeved T shirt, thus exposing his orange undersleeves. Exhibit E.

     10. Tom Keenan is an adherent of Philly Antifa. He is a portly while male. On August 11,

        2017, he was wearing a dark blue shirt and pants. Exhibit F.


                                            Statement of Facts


     11. Chris Cantwell, among others, was asked to speak at an August 12, 2017 rally in

        Charlottesville in support of the Robert E. Lee Monument, which the City of

        Charlottesville had voted to remove.

     12. In response, Gorcenski and others acted in concert to deny United States citizens,

        including Cantwell, their rights to free speech. As of August 5, 2017, Gorcenski had

        knowledge of fighting planned the night before the rally, August 11, 2017.

     13. On or about August 10, 2017, Cantwell announced on his website, Christopher

        Cantwell.com, that he would have a meet and greet for fans and listeners in

        Charlottesville during the day on August 11, 2017. The location, date and time were

        confidential, and could only be accessed by paying subscribers. Prior to the

        announcement, Cantwell stopped taking new subscribers, thus limiting the detailed meet

        and greet information to paid subscribers who subscribed before the announcement.

  August 11, 2017- Morning


     14. Gorcenski, or someone in communication with her, was surreptitiously a prepaid

        subscriber. By approximately 8.51 a.m. on August 11, 2017, Gorcenski, knew the time

        and location of Cantwell’s event.




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     15. Knowing Cantwell’s intention to be at a certain place at a certain time, Gorcenski

        participated in an operation to injure and/ or instill fear into Cantwell. Philly Antifa

        would do the dirty work.

     16. Cantwell arrived at the Walmart at 975 Hilton Heights Rd Charlottesville Va., at about

        11.45 a.m.

     17. At 11.48, a silver SUV hatchback arrived and visibly slowed as it passed Cantwell’s

        location.

     18. At 11:54, a person believed to be Shawn Menne, of Philly Antifa, walked up and began

        recording with a hand held device. Cantwell did know Menne, but recognized him as a

        potential threat. At 11:55, Cantwell told Menne, “Everything’s fine, just no sudden

        moves, ok, pal?” Menne then walked off towards Wal Mart. Menne was engaging in

        Antifa reconnaissance of the target, Mr. Cantwell.

     19. At 12.00 noon, Menne returned in the company of four other persons, Paul Minton,

        Michael Longo, Jr., and, upon information and belief, Robert Medallo, and Brian Bozicek

        (hereinafter the “Antifa Squad”). All are associated with Philly Antifa.

     20. The Antifa Squad worked its way around the side of Cantwell’s gathering. Cantwell

        recognized the squad as a threat and suggested to his crowd “Don’t interact with them,

        leave them alone.” The Antifa Squad worked its way around to the rear of Cantwell’s

        gathering. Minton and Medallo approached closer through the parked vehicles. Cantwell

        asked them to “Keep your distance from the vehicles, guys.” Minton began recording, as

        did Medallo. They and the others milled around a bit, and then Minton began

        communicating on his phone, while the others moved towards him. At 12.02, they all




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        milled around a bit at the front of a silver vehicle, and then started walking together

        towards the Wal Mart building.

     21. The Antifa Squad walked back to its approximate starting point, about 10 yards from

        Cantwell’s gathering. At 12.03, Longo approached to within about two yards and began

        exchanging words. Cantwell warned him to “keep your [expletive] distance from us,”

        and to “back up.” Medallo then approached and insults were exchanged. Because the

        Antifa Squad would not back up, Cantwell turned around so that they could see the

        firearm in its holster on his belt. Cantwell holds a concealed carry permit from New

        Hampshire.

     22. The Antifa Squad backed off about 10 yards. More insults were exchanged. At 12.03,

        Cantwell again suggested that the Antifa Squad “Take a [expletive] couple of steps back

        and not engage with us.” At 12.04, Antifa approached again. Cantwell again warned

        “you’re getting a little close to us pal, and I know ya’ll’ve got a [expletive] habit of

        getting in trouble.” Minton then began communicating again. At 12.04, Cantwell

        showed them the firearm in his belt holster again. One of the Antifa squad said they were

        “ENTEF,” a euphemism for Antifa. More words were exchanged. Minton was still

        communicating. At 12.05, Minton stopped communicating, and the Antifa Squad became

        very quiet. At 12.07, they moved off towards the Wal Mart building, and then to the right

        into the parked vehicles.

     23. Faced with Cantwell’s firepower, the Antifa Squad changed the operation from a physical

        attack to a “swatting” operation. “Swatting” is accomplished by calling in a false police

        report of a targeted person with a gun, in the hopes that the police will arrive and the

        dicey circumstances will result on the target being killed, shot, or arrested.




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     24. At approximately 12:14, Albemarle County Sherriff received an anonymous and false

        call to the effect that “Large group of neo Nazis in the parking lot protesting in the

        parking lot called says they all have guns but not threatening anyone-have been harassing

        some customers and creating a problem.” Over the next ten minutes, more calls were

        made to law enforcement with more falsehoods of increasing urgency.

     25. At no time did Cantwell, nor anyone else, anyone else touch nor draw any firearm. At no

        time did Cantwell, nor anyone else, approach any “customers”

     26. At about 12.30, law enforcement arrived, and Gorcenski arrived and took an image of

        Cantwell interacting with law enforcement.

     27. Cantwell’s gathering proceeded without further incident. Cantwell did not set foot in the

        Wal Mart that day.

     28. At about 1:26 p.m., Gorcenski tweeted out to her 24,000 followers the image she took at

        12:30, with the caption “Cantwell being questioned by cops after allegedly brandishing a

        gun.”

     29. In the late afternoon, Cantwell found out that a tweet of him being questioned by the

        police had appeared on the violent Antifa website itsgoingdown.org. This caused

        Cantwell’s to further fear that that Antifas would continue to attack him with

        overwhelming numbers with the intent to cause him death or bodily injury.

     30. Because of his fear of another Antifa mass attack, at night, when he was on UVa.

        property and unarmed, Cantwell refused to participate in the August 11, 2018 Jefferson

        Monument event without assurances of law enforcement presence, which assurances he

        received.




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  August 11, 2017, -Early Evening

     31. Sometime after 8.11 p.m. (sundown) Gorcenski arrived at Nameless Field in

        Charlottesville, Va., and waited for the Monumentals to arrive while livestreaming.

     32. During her livestream, Gorcenski kept up a running malicious commentary, including

        that the Monumentals were “weak little people without constitution and without skill”

        and that they were “a lot of pathetic people about to march in with tiki torches. I don’t

        know of anything less menacing than tiki torches…”

     33. Despite having knowledge of Cantwell being swatted earlier in the day, Gorcenski

        maliciously condemned the practice of swatting: “Somebody, some fucker online called

        in a threat ….” And “And the minute I post a picture of myself exercising my second

        amendment rights they are talking about how its incitement and how it’s obvious that I’m

        planning to attack the rally. They fucking tried to swat me today because of that. They

        don’t give a shit about nonviolence.” Gorcenski’s complaint that she was swatted shows

        her knowledge that swatting, such as that which she participated in at Wal Mart, is

        wrongful, and shows her malice against Cantwell.

     34. After searching through several hundred Monumentals for Cantwell, Gorcenski once

        again engaged in conduct with the intent to place Cantwell in fear of death or bodily

        injury, or reasonably should have known that such conduct would do so.

     35. Gorcenski found Cantwell in the throng, and taunted him. (Cantwell’s words are in

        italics).

        How was your Wal Mart meetup, Chris?

        I’m sorry?

        How was the Wal Mart meetup?




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        How was the Walmart meetup? Who are you? Were you the fucking asshole who made a

        false report? Is that who you are?

        No I got there late.

        Next time don’t f*****g drink all night.

        Who drank all night?

     36. By his words, Cantwell gave Gorcenski actual notice that he did not want to be contacted

        or followed further by Gorcenski. Exhibit G.

     37. Gorcenski accosted Cantwell specifically to let him know that another, unseen, unknown

        Antifa was affiliated with the Wal Mart Squad, had been surreptitiously observing him,

        and intended to put him in fear that an Antifa Squad might be lurking somewhere out

        there in the dark waiting to cause him death or bodily injury while Cantwell was unarmed

        on UVa property. Additionally, Gorcenski also accosted Cantwell to inform him that an

        Antifa had gotten within striking distance, thus further putting him in fear of death or

        bodily injury. Gorcenski may also have been broadcasting Cantwell’s current appearance

        for identification purposes.



  August 11, 2017--- Later that Evening


        Nota Bene: [MP __] are video clips or images attached hereto. The video clips can be
        viewed with VCL Media player. Key “e” allows the user to advance frame by frame. As
        the events described occurred over approximately 25 seconds, the clips should be viewed
        at regular speed, and also frame by frame. Using the [ key slows the speed down 10%,
        allowing slow motion viewing.




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      38. Defendant Goad and Antifa arrived at the Monument before the Monumentals,

         Gorcenski, and Plaintiff. When Gorcenski arrived, she took care not to film the faces of

         the Antifas already there by intentionally pointing the camera at the ground.

      39. The statue of Jefferson faces generally north, towards University Avenue. The Rotunda

         building is behind him, or generally south. A rough diagram is attached as Exhibit H.

      40. For orientation purposes, an Antifa group had a large white sign on the south face of

         Jefferson. An Antifa in a wheelchair, Sylvan Miller, had taken up a position at the

         northeast corner of the Monument. [MP1]

      41. For orientation purposes, by approximately 10:07 p.m., Antifa, including most or all of

         the members of the Wal Mart Squad, had chosen to gather around the base of the

         monument.     Defendant Gorcenski met the head of the Monumental column at the stairs

         of the rotunda, walked through it, and picked it up again as it deflected to the west side of

         the monument. She then followed it, now filming the Monumentals faces, as if searching

         for someone. She stopped near the northwest corner and filmed as the column went by.

         Defendant Goad and Beanyman were northwest corner of the monument. Tom Massey

         and his wingman, Tom Keenan, both of Philly Antifa, were on the west face of the

         monument. Gorcenski crossed the north face of the monument filming from west to east,

         approaching Sylvan Miller’s wheelchair. [MP2] A blinding white camera light was in

         place near the northwest corner of the monument, shining southward towards the

         Rotunda. [MP3]

      42. Approximately 20 Antifa had chosen to link arms around the base of the Thomas

         Jefferson statue; the arriving Monumentals formed a doughnut around them. [MP4]




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      43. Cantwell, bald and wearing a black shirt with “Radical Agenda” on the front, came down

         the Rotunda steps, passed to the west of the Jefferson monument, around the north face,

         and was headed south across the east face. There he was identified and accosted by

         Michael Longo, Jr. recently of the Antifa Squad at Wal Mart. Longo bragged to Cantwell

         that he, Longo, had called the police on Cantwell at Wal Mart. Cantwell continued

         around the south face, then headed north. Exhibit I.

      44. At the northwest corner, Defendant Goad and Tom Massey were near the west face of the

         monument. Massey spontaneously attacked a person in a white jacket who was filming

         him, Massey, with a phone. [MP6] No fight ensued. This can also be seen towards the

         end of Exhibit I, in the upper left corner. Cantwell moved to the northwest corner.

      45. During this time, Gorcenski, moved across the north face heading east, passed around

         Sylvan Miller’s wheelchair at the northeast corner and headed south across the east face

         of the monument, now filming faces, still as if looking for someone. Defendant Goad

         took up a position at the northwest corner. [MP7] Some distance off of the northwest

         corner, Plaintiff was standing in the Monumentals’ doughnut. [MP5]

      46. Gorcenski turned and moved south across the east face, then west across the south face,

         and then north along the west face, joined the Keenan/Massey Philly Antifa group,

         stopped behind Massey, then turned around and headed back south, finally advancing

         towards the Monumental doughnut, taking up a position some distance from the

         southwest corner, facing south. [MP9]

   Actions of Gorcenski at the southwest corner


      47. Gorcenski took up a position about 25 feet from the southwest corner, facing southwest.

         filming faces with the phone. Exhibit J, frame left. Gorcenski was standing next to a




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         man in a PBS shirt. Two other persons, “Lumberjack” and “Haircut” were exercising

         their rights to free speech. Exhibit K. Gorcenski turned in place, still filming faces.

         Exhibit K. Seconds later, Gorcenski was a few feet from the southwest former of the

         monument. A man with a distinctive haircut (hereinafter “Haircut”) shoulder shoved

         Gorcenski, which is a crucial time marker. Exhibit L. Haircut blocked Gorcenski’s phone

         with his hand. Exhibit L. Gorcenski was still filming faces.

      48. To Gorcenski’s right, Tom Keenan and Tom Massey, both Philly Antifa, attacked the

         Monumentals with pepper spray. Keenan was in a defensive bent over posture, while

         Massey was upright and fighting a man in a tank top, hereinafter “Tank Top.” Keenan

         continued to attack, and Haircut started fighting him. Exhibit M. In the background,

         Beanyman invited himself to the Tank Top/Massey fight and attacked Tank Top, who put

         Beanyman on the ground. Exhibit M. Massey and Keenan’s pepper spray attacks created

         an odor of pepper spray in the area.

      49. Another camera shows that Massey attacked Tank Top armed with a soda bottle and a

         canister of pepper spray in his clenched fists. Tank Top defended himself, knocked

         Massey to the ground, knocked Beanyman to the ground, and then retreated

         approximately 6 feet, as did nearby Monumentals. [MP10] Massey crawled away

         behind Beanyman.

      50. Beanyman rose up from the ground, and changed front. Beanyman did not attack any of

         the others, but charged directly at Cantwell Defendant Goad joined Beanyman and led

         Antifa forward at Plaintiff. [MP12]

      51. Beanyman’s face was contorted with rage, his teeth were clenched, he assumed an attack

         stance, and drew back his left hand to strike the Plaintiff. [MP12], [MP13] [MP14].




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      52. Outnumbered by at least Beanyman and Goad, Plaintiff pepper sprayed the leader,

         Beanyman, in the face at distance of about 12 inches. Beanyman retreated back to the

         Monument. Plaintiff retreated approximately five feet to the west. [MP15] Defendant

         Goad’s glasses were on his nose.

      53. Returning to the first camera, Beanyman popped up from the ground, attacking Cantwell.

         Cantwell sprays him at about 5.38, far left of frame. Exhibit N.

      54. While Beanyman was on the ground, Tom Keenan was getting the worst of the fight with

         Haircut, which is occurring about eight feet in front of Gorcenski, who was near the

         southwest corner. They disengaged, and then Keenan came back at Haircut, with pepper

         spray in his, Keenan’s, left hand. Exhibit N.

      55. Returning to the first camera, Gorcenski was standing near the southwest corner of the

         Jefferson Monument, facing roughly west. Exhibit O. Haircut was about 6 feet from

         Gorcenski. Chris Schiano, a tall man in a green shirt with a backpack, is right behind

         Gorcenski.

      56. Gorcenski looked to the front, then right front, and then turned to the right and looked

         behind (east), towards Lindsay Elizabeth Moers, a Philly Antifa who had an asp fully

         deployed. [MP40a].

   Actions of Defendant Goad near the northwest corner.

      57. Defendant Goad was near the northwest corner, approximately six feet to Beanyman’ s

         right and rear from Beanyman during Beanyman’s attack on Tank Top. [MP11]

         Defendant Goad’s glasses were on his nose.




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      58. When Beanyman rose up from the ground and changed front to face Plaintiff, Goad

         joined him and led ANTIFA forward at Plaintiff. [MP12] Defendant Goad’s glasses were

         on his nose.

      59. Outnumbered, Cantwell pepper sprayed the leader, Beanyman, in the face at distance of

         about 12 inches. Beanyman retreated back to the Monument. Plaintiff retreated

         approximately five feet to the west. [MP15] Defendant Goad’s glasses were on his nose.

      60. Within a split second of Plaintiff’s spray at Beanyman, Goad identified Plaintiff as the

         sprayer and pointed to him for about two more whole seconds. [MP16] Defendant Goad’s

         glasses were on his nose.

      61. To Defendant Goad’s left (south), Massey had gotten up and was brawling, and then

         kicked the head of a Monumental on the ground in a tracksuit (hereinafter “Tracksuit”).

         As Tracksuit attempted to rise up off the ground, Massey kicked him mightily in the

         torso, and then attacked with the pepper spray in his left hand in a northwesterly direction

         directly at Cantwell, rather than the several others on either side of him, who were also

         moving forward to rescue Tracksuit. [MP17] Cantwell displayed pepper spray from

         behind the others. About to be overwhelmed by four or five Monumentals, Massey

         turned around and attacked right back into the fight occurring to his rear and over top of

         Tracksuit.

      62. Antifa shifted laterally to their own left, putting William Corey Lovell in front of

         Defendant Goad. [MP18] Defendant Goad’s glasses were on his nose.

      63. A man with a 35 mm camera (hereinafter “Cameraman”) was to Defendant Goad’s

         immediate right. A large bearded Monumental in a gray shirt and baseball cap with a

         flashlight (hereinafter “Flashlight”) was to Cameraman’s right, and between Defendant




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         and Plaintiff. [MP19] Defendant Goad looked to his right (north). [MP20] Defendant

         Goad’s glasses were on his nose.

      64. While Goad was looking north, to Goad’s and Cameraman’s right, an arm with a dragon

         tattoo “(hereinafter Dragonarm’) went between Cameraman and Flashlight and pepper

         sprayed Goad, to which Goad reacted by covering his face. Lovell reacted similarly.

         [MP21] Defendant Goad’s glasses were on his nose.

      65. At the time that Dragonarm sprayed Goad, Cantwell was approximately 10 feet from

         Goad, near the southwest corner, heading to the southeast. [MP21]

      66. Cantwell was trying to stop Massey from joining the fight above Tracksuit. [MP22]

      67. About three seconds after Cantwell’s interaction with Massey, Dragonarm, not Cantwell,

         sprayed Defendant Goad from Goad’s right. [MP23], [MP 21] Defendant Goad’s glasses

         were on his nose, and he was looking at Cantwell, who was in front of and about 10 feet

         away from Goad.

      68. At the northwest corner, two torch candles fell to the ground, and the respective lines

         parted. Lovell was in front of and to the left of Defendant Goad, both on the north side of

         the monument. [MP24] Defendant Goad’s glasses were on his nose.

      69. Defendant Goad and Antifa moved back across the north face approximately 4 feet,

         putting their front midway on the north face of the monument. A person in a white shirt

         with a tiki torch (hereinafter “White Shirt Tiki” approached Lovell and Defendant Goad.

         [MP25] By this time, Plaintiff had been near the southwest corner of the monument for

         approximately four seconds. Defendant Goad’s glasses were on his nose.




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      70. White Shirt Tiki lowered his tiki torch and faked at Lovell. This caused White Shirt

         Tiki’s torch candle to fall out of said torch towards Lovell. It bounced off of his thigh

         and onto the ground. [MP25] At this time, Plaintiff was near the southeast corner.

      71. Defendant Goad looked at White Shirt Tiki’s candle on the ground. White Shirt swung

         his rattan at Lovell, causing Lovell to retreat. Defendant’s vision focused on White Shirt

         Tiki’s candle and attempted to extinguish it. White Shirt Tiki swung his rattan at

         Defendant Goad, who saw it coming and retreated. [MP26] At the same time, to Goad’s

         right, a man in a red shirt swung his rattan at Goad, which also caused Goad to retreat.

         [MP27] Defendant Goad’s glasses were on his nose.

      72. Goad and Antifa retreated east across the north face of the monument. [MP28]

         Defendant Goad himself retreated across the north face of the monument to the northeast

         corner.

      73. Upon reaching the northeast corner of the monument, unknown Monumentals were

         yelling out “Hold, Hold.” Goad was near Sylvan Miller’s wheelchair, smiling and

         laughing. Goad, possibly without his glasses, joined the cluster of Antifa near the center

         of the east face of the monument. Inside the cluster, an unknown person knowingly and

         intentionally released a noxious gas. An individual is seen to cough, and a man in a

         touring cap in heard to cough. Defendant Goad, now minus his glasses, for the first time

         wipes his face and eyes. [MP29] The excited utterance can be heard “f*****g ANTIFA

         just gassed themselves.” [MP30]

      74. Goad himself was gassed. He made his way without molestation through the

         Monumentals leaning on a bearded Philly Antifa named Caeden Famiglio, just after a

         person present says “strong smell of ‘gas,’ [MP50] [MP51] [MP30]




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   Actions of Gorcenski

      75. Beanyman, Goad, and Massey attacked Cantwell near the northwest corner of the

         monument.

      76. At the time, Gorcenski was near the southwest corner of the Monument, on the on the

         other side of the Massey/Keenan pepper spray cloud from Cantwell, Beanyman and

         Goad.

      77. Gorcenski looked to the front, then right front, and then turned to the right and looked

         behind (east), towards Lindsay Elizabeth Moers, a Philly Antifa who had an asp fully

         deployed. [MP40a]. Gorcenski had her phone in the right hand. [MP40]

      78. Beanyman positioned himself at the southwest corner of the Monument and pulled out

         his own pepper spray. Massey was fighting across the west face in a southerly direction,

         with Plaintiff right behind him. As they approached him, Beanyman attempted to spray

         Cantwell, but his pepper spray malfunctioned. Beanyman looked at it, and then attempted

         to spray Cantwell again, but the pepper spray failed again. A Monumental pushed

         Beanyman off of the corner.

      79. Plaintiff turned and crossed the south face of the monument, approximately 10 feet from

         Gorcenski. [MP40].

      80. By the time Plaintiff was near the southeast corner he was blocked by Robert Medallo, of

         the Wal Mart Squad, who went towards the ground. [MP41a Screencap] Christopher

         Thomas Schiano, a very tall man in a green shirt with a backpack, was to Gorcenski’s

         right. [MP41b Screencap] Cantwell was approximately 6 feet from Gorcenski, whose

         shoulders fill the frame. Gorcenski raised her phone and took a picture. Plaintiff is to

         Gorcenski’s left. Gorcenski and Schiano block the view. [MP41]




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      81. The picture taken by Gorcenski is attached in Exhibit P. The bald man in the black

         Radical Agenda shirt, Plaintiff, is to the left of the frame.

      82. Beanyman, was now brawling at the southeast corner of the monument, and sprayed

         Haircut full in the face with his, Beanyman’s, pepper spray. Haircut retreated, running

         into Cantwell. A Monumental hit someone with a tiki torch, and citronella spilled, within

         a few feet of Gorcenski.

      83. At the southeast corner of the monument, between Gorcenski/Schiano and the corner of

         the monument, Lindsay Elizabeth Moers raised her asp to strike. Plaintiff Cantwell went

         forward to disarm her, calling “get that stick!” [MP34]

      84. As Cantwell was attempting to disarm Lindsay Elizabeth Moers, Beanyman came off the

         monument and attacked Cantwell. Another Monumental (hereinafter “Headlock”)

         intercepted Beanyman and put him in a headlock. [MP35] [MP35a Screencap].

         Beanyman bear maced Cantwell “like a fire hose.” [MP36] [MP36a Screencap]

      85. Cantwell reacted to the pepper spray attack. [MP37]

      86. At the time Beanyman fire hose sprayed Cantwell, Gorcenski’s head was about level with

         Schiano’s armpit, [MP42] and Gorcenski was immediately behind Cantwell.

      87. After being sprayed, Cantwell moved southeasterly, turned around, and then retired out

         of the crowd away to the southeast. [MP42] He was treated for the effects of pepper

         spray.

      88. While at the monument, Cantwell had been personally attacked 5 times (Beanyman,

         Massey, Beanyman twice more when the pepper spray did not work, and then by

         Beanyman with Headlock).

      89. Officers Bryant and Climore, UVa. Police, arrived. [MP37]




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      90. Over at the northeast corner of the monument, unknown persons were yelling out “Hold,

         Hold.” [MP29] Gorcenski was standing opposite the eastern east face of the Monument,

         looking at her phone, and put her glasses in her hair. Defendant Goad then came around

         the northeast corner of the monument Sylvan Miller in her Wheelchair, smiling and

         laughing. For the first time Gorcenski wipes her face. Gorcenski is standing next to a

         short man in a yellow shirt (Yellowshirt), who covers his nose with the shirt. [MP43]

      91. By approximately 10.17, the UVA Antifa and their white sign had passed unmolested

         through the Monumentals and took up a position at the base of an overhead light about 20

         yards east of the monument, passing by a police officer while doing so. [MP44]

      92. After he put his glasses in her hair, Gorcenski resumed livestreaming herself from his

         phone. Yellowshirt, with his shirt over his nose, can be seen in the background.

         Gorcenski for the first time said, “So I’ve been maced. There have been brawls. The

         Nazis f*****g attacked us. They pinned us around the statute. There are brawls. I got

         my glasses stuck in my hair.” Gorcenski also made her way unmolested through the

         Monumentals, to the UVA Antifa with their sign, and asking only for help to remove her

         glasses. [MP45]

      93. Defendant Goad spoke with Officer Thompson of the UVa. PD that night. He claimed

         that “a person sprayed me in the face with mace.” “He had a shaved head, black shirt. It

         said Radical Agenda on it.” Goad also described his assailant as muscular and 180- no

         200 lbs. “After I was sprayed, um, I got minor punches to me I couldn’t see from who,

         um all I know I couldn’t open my eyes anymore and someone carried me…er… guided

         me away from it, but also at the time I could not escape from it as well because there was

         a circle of people around me as well and it was just moving me around the statue at least




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            twice.” Goad did not mention that Beanyman had attacked Cantwell, nor that he, Goad,

            could see and yell for 8 seconds after the Beanyman spray, nor that he, Goad, stomped at

            the torch on the ground, nor dodged a torch, both allegedly with his eyes closed, nor

            Caeden Famiglio’s walking him out right through the Monumentals from the east face of

            the monument after Antifa gassed themselves.

      94. Gorcenski was enraged that the Monumentals’ march was not materially disrupted. “We

            lost. We got our asses handed to us.” She wanted revenge, and began looking for a

            crime.

   August 12, 2017

      95. Within hours of the end of the Jefferson Monument event, Gorcenski saw the attached

            photograph of Cantwell spraying Beanyman near the northwest corner of the monument.

            Exhibit Q. Even though she was on the other side of the Massey/Keenan pepper spray

            attacks, unable to see Beanyman attack Cantwell nor that actual spraying, Gorcenski

            tweeted out to her 24,000 followers this image with the caption “This is Chris Cantwell

            deploying pepper spray against people who are clearly in de-escalation poses.”

      96. Based on this photograph, Gorcenski maliciously decided to falsely accuse Cantwell of

            spraying her at the same time.

      97.     She did so to prevent Cantwell’s speaking engagement on August 12 by having him

            arrested, to create a false narrative that the Monumentals had gratuitously attacked Antifa

            the night before, to thereby discredit, vex, harass, and intimidate Cantwell and those

            supporting the Monuments or opposed to Antifa, and to cause Cantwell to be in

            reasonable fear or suffer death or bodily injury if arrested and jailed. She also did so to

            conceal the fact that Antifas had attacked the Monumentals.




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      98. At approximately 9:00 a.m. Gorcenski contacted the University of Virginia Police.

      99. Officer Smallwood, UVa Police, would not swear to a warrant. Instead, he required

         Gorcenski to do so, but signed as authorizing it pursuant to Va. Code Sec. 19.2-71 and

         72.

      100. Gorcenski communicated information to the magistrate that led the magistrate to issue a

         warrant at 9:38 a.m. against Cantwell for unlawful wounding by acid or caustic agent

         under Va. Code Sec. 18.2- 52, a Class 6 felony. The warrant was signed under oath by

         Gorcenski. A copy teste of the 18.2-52 charge is attached hereto as Exhibit R.

      101. Gorcenski made sure that the warrants were issued, and then “leaked details on social

         media.”

      102. On August 12, 2017, Gorcenski personally met with Goad and informed Goad that

         “Christopher Cantwell” was the name of the person spraying Beanyman in the

         photograph. Gorcenski also informed Goad that she, Gorcenski, had taken out a sworn

         warrant against Cantwell.

   August 12, 2017-Morning

      103. About 10.00 a.m. on August 12, a group of people including Cantwell were transported

         towards downtown Charlottesville, and was dropped off on High Street. He and his

         compatriots walked south on Park St., and turned west on Jefferson St., which runs in

         front of the Albemarle County Courthouse.

      104. As Cantwell approached the cannons in front of the courthouse on Jefferson St., the

         column stopped. Antifa was occupying Jackson Park, to their right front. The party

         moved on.




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      105. As Cantwell approached the corner of Jefferson St. and 4th St. NE, he met a heavily

         armed Antifa in tactical combat gear. A few yards further on was another, unarmed, but

         in tactical gear. A few yards further on, at the corner, was another squad of heavily armed

         Antifas--and Emily Gorcenski.

      106. Gorcenski was filming from behind the heavily armed Antifas and eyeing Cantwell.

         This constituted following or contacting the victim after having been given actual notice,

         as set forth in Va. Code Sec. 18.2--60.3.

      107. Cantwell and his compatriots proceeded towards the rally at Lee Park.

      108. Unbeknownst to them nor Cantwell, a Philly Antifa had taken up station along the route,

         just east of Lee Park, on the south side of Market Street, midway on the block.

      109. Cantwell’s party turned west onto Market Street, and walked up the north side sidewalk.

      110. As the group and Cantwell approached the corner of Market Street and 2d Street NE, an

         Antifa in black track pants with three stripes on the out seam was lying in wait, just

         around the corner, facing west. As Cantwell passed the corner, the group was stopped by

         the crowd. The Antifa, disguised in sunglasses and a long wig, reached in his side pocket

         and withdrew a canister of high grade mace. He moved toward the now stationary

         Cantwell.

      111. That Antifa had been in the Wal Mart Squad, the one who accosted Cantwell at the

         Jefferson Monument, and had called the deputies on him. He knowingly, intentionally

         and maliciously sprayed Cantwell in the face, ignoring all of the others with him. This

         was Michael Longo, Jr.

      112. Cantwell screamed, and, blinded, was led past a Charlottesville Police Department car

         to the uncertain safety of Lee Park. Cantwell was yelling “I can’t see!”




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   August 13, 2017

      113. On or about Sunday, August 13, Gorcenski bragged that she was pressing charges

         against Cantwell, and that she “been affected” only by the pepper spray “in the first

         image.”

   August 16, 2017

      114. On August 16, 2017, Gorcenski tweeted to her 24,000 followers, “I suggest you head to

         a magistrate Mr. Cantwell. I filed the statement that got the warrant signed out."

         Gorcenski further admitted that her “team” was shadowing Cantwell on the night of

         August 11, and was targeting him.

      116a. On August 16, Gorcenski, who was within inches of Cantwell when Beanyman

      sprayed them both, also claimed that Cantwell had bear maced himself on August 11.

   August 17, 2017

      115. Based on Gorcenski’s information, on or about August 17, 2017, Defendant Goad

         travelled to Charlottesville and met with Sgt. Acord of the UVa. Police. He swore under

         oath to the sequence of events to Acord: “I saw a person in a brown shirt get pepper

         sprayed by a person I know is Christopher Cantwell. I yelled ‘this man has mase [sic]

         and people started swinging torches at me. I dodged them and removed my prescription

         glasses. I saw a canister of citronella on fire and tried to exhaustion [sic] the fire with my

         foot. When I failed to do so, I looked up and Cantwell mased [sic] me, I could not see,

         [sic] beyond that but felt strikes to my body after that.”

      116. On August 17, 2017, and pursuant to Va. Code Sec. 19.2-71 and 72, Defendant Goad

         completed a form entitled “Criminal Complaint” before the magistrate. On it, Goad

         swore that the statements thereon were true to the best of his knowledge and belief,




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         including the statement “Cantwell used a gel mase [sic] pepper spray at my face and

         cause [sic] me to lose my vision temporarily [sic]. I was struck by torches by unknown

         persons while my vision was gone.” A copy teste of the Goad charges is attached as

         Exhibit S. It was issued at 12:04 p.m.

      117. Sgt. Acord would not swear to the warrant; he, too, required Goad to do so, but Acord

         authorized it under Va. Code Sec. 19.2-71 and 72. This prompted the issuance of another

         warrant for malicious gas release, a Class 3 felony.

      118. That same day, August 17, 2017, Gorcenski tweeted out to her 24,000 followers a

         personal score card, taking credit for injuries to several Monumentals, including

         Cantwell. Exhibit T. This shows her malice towards Cantwell and her approval of his

         macings.

   August 18, 2017

      119. Gorcenski met with Sgt. Acord on August 18, 2017. “Gorcenski referred to herself as a

         media relations assistant to Antifa.” And further, “Once they made it to the statue by the

         North end of the rotunda, Emily recalls seeing a person being hit by a torch and could

         smell fuel just before being sprayed in the eyes with pepper spray. Directly AFTER

         being sprayed, she was hit by a man wearing a swastika pin and her phone was

         dropped. She picked up her phone and located a woman who flushed her eyes with

         water.” [Emphasis added] Exhibit U.

   August 21, 2017

      120. On or about August 21, 2017, Plaintiff turned himself in to the Lynchburg police. The

         Charlottesville magistrate denied bond.




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      121. On or about August 21, 2017, Plaintiff moved the Albemarle County General District

         Court for bond.

   August 23, 2017

      122. According to People Magazine, “Emily Gorcenski told the Times that she filed a report

         against Cantwell with the University of Virginia police after witnessing him pepper spray

         others on the night of August 11. She said she thinks her report led to one of his

         charges. He sprayed basically the whole group.” [Emphasis added].

   August 31, 2017

      123. On August 31, 2017, when Cantwell’s cases were called for the bond hearing, the

         Commonwealth of Virginia, by Robert Tracci, Esquire, Attorney for the Commonwealth,

         moved to amend the two Gorcenski charges, upgrading them from unlawful (a Class 6

         Felony) to malicious (a Class 3 felony), which was allowed over Plaintiff’s objection.

      124. Pursuant to Va. Code 19.2-120(d), a presumption against bond exists for any malicious

         wounding under Va. Code 18.2-51 et seq., which includes Va. Code 18.2-52, one of the

         charges that Gorcenski took out.

      125. After the amendment, the Albemarle General District Court awarded Plaintiff a bond in

         the amount of $25,000. A preliminary hearing was scheduled for November 9, 2017.

      126. The Commonwealth appealed the bond decision to the Albemarle Circuit Court, which

         later that day denied bond on the grounds that the Va. Code Sec. 19.2-120(d)

         presumption against bond had not been rebutted.

   October 3, 2017

      127. On October 3, 2017, Gorcenski met with Sgt. Acord again. She claimed to have video of

         being hit on the head with a torch by a blond man at the monument on August 11 at a




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          certain point in a video she found on September 1. Exhibit V. At 0:01, Gorcenski can be

          seen adjusting her glasses. Blondie swings the torch five seconds later.

      128. Exhibit W records Gorcenski’s actual experience after adjusting her glasses. Gorcenski

          adjusts her glasses at 0:02, at the right edge of the frame. Gorcenski then retreats east

          across the south face of the monument; four seconds after she adjusts her glasses, she is

          out of the frame to the right, far from Blondie. Gorcenski submitted fabricated evidence

          to Sgt. Acord. Providing fabricated evidence to law enforcement shows Gorcenski’s

          malice.

      129. Gorcenski also included the internet location of the Unicorn Riot video, which includes

          video of Massey attacking Cantwell.

   October 29, 2017

      130. On October 29, 2017, Gorcenski met with the FBI in an effort to bring federal charges

          against Cantwell. This version contradicted Gorcenski’s statement to Sgt. Acord on

          August 18, 2017. Exhibit X. Fabricating evidence and presenting it to the FBI shows

          Gorcenski’s malice against Cantwell.

      136. Moreover, Gorcenski told the FBI that Cantwell had not sprayed her in the eyes.

   Exhibits U and X. Telling two different stories to two different law enforcement agencies shows

   Gorcenski’s malice against Cantwell.

   November 3, 2017

      131. Sometime between November 3, 2017, and November 7, 2017, Defendant Goad met

          alone with Robert Tracci Esquire, Commonwealth’s Attorney for Albemarle County.




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   November 9, 2017-Goad case

      132. On November 9, 2017, Defendant Goad testified that he had sworn out the warrant

         under oath. Goad testified that he signed the sworn statement. Goad admitted that the

         sworn statement was: “Cantwell used a gel mace spray at my face and caused me to lose

         my vision temporarily.”

      133. Despite the light from scores of torches and the blinding camera light, after claiming

         20/60 vision without his glasses, Goad testified that he agreed with Tracci that it would

         be fair to say if it were dark and there was a lot of chaos going on it would be difficult to

         identify everything that’s going on, everything happening, insinuating that Goad’s poor

         vision without glasses caused him to misidentify the two utterly different persons in

         Exhibits A and L. (Cantwell and Dragonarm) On cross examination, Goad admitted

         repeatedly that his glasses were on his nose before claiming the video resolution was too

         poor to further say.

      134. After meeting with Tracci, Defendant Goad’s new sworn testimony was that “multiple

         people,” but not Cantwell, had used gel mace pepper spray in Defendant’s face.

      135. After meeting with Tracci, Goad’s new sworn testimony was that “I suffered more

         instances of being attacked with a caustic agent than in my original statement.”

      136. Despite swearing only to gel mace from specifically Cantwell in his face, despite the

         fact that he could see and yell after the Beanyman spray, Goad now swore under oath for

         the first time that he had also been affected by overspray from Cantwell’s anti-Beanyman

         spray.




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      137. Despite the fact that he was behind Lovell and a good six feet to Cantwell’s right yet

         showed no reaction, Goad also swore under oath for the first time that he was also

         affected by Cantwell’s display against Massey.

      138. Goad testified that “I was, I was in the room with Mr. Tracci when I found out that I had

         been hit multiple times.”

      139. Despite the video [MP10, 12] showing Goad watching Beanyman fight Tank Top, and

         seeing Beanyman join the fight, get thrown on the ground, and swing while on the

         ground, Goad testified that he did not see Beanyman strike anyone, nor be violent.

      140. After his meeting with Tracci, Goad abandoned the “Cantwell gel mace” version and

         testified that he instantaneously felt “burning on his face” after Cantwell’s anti-

         Beanyman spray, though he managed to identify the sprayer, pointed at him, and yelled,

         curiously making no mention of any “burning on his face.”

      141. After meeting alone with Tracci, and despite the video showing Goad behind Lovell,

         with his glasses on, and about 7 feet to Massey’s right, [MP17, 18], Goad further testified

         that he was also “affected” when Cantwell displayed at Massey. After his meeting with

         Tracci, and despite the video showing Dragonarm spraying Goad 4 seconds thereafter,

         Goad testified that he “was affected” in “a few seconds” to “completely lose [his]

         vision,” “feel burning on [his] skin, and difficulty breathing” by Cantwell’s spray, and

         not by Dragon Arm’s.

      142. Despite just “completely losing his vision,” Goad nevertheless watched a person swing

         a torch at him.

      143. Despite the video showing Goad retreating halfway across the north face of the

         monument, stomping at a torch candle, and avoiding another torch swing, Goad testified




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         that he “tried to open my eye just enough to see one person I was familiar with, asked

         them to walk me out of [t]here.” That person he was familiar with was Caeden Famiglio,

         of Philly Antifa, who helped Goad on the east face of the monument after the Antifa

         release thereon.

      144. Despite previously testifying that Emily Gorcenski had told him that Cantwell was the

         sprayer, Goad testified that he only reviewed video and by that means alone identified

         Cantwell as the person who had sprayed gel mace in his face.

      145. Goad attempted to explain how his story changed after his meeting with Tracci by

         claiming that his story had not changed after his meeting with Tracci. Goad’s false sworn

         testimony shows his malice against Cantwell.

   November 9, 2017- Gorcenski case

      146. Despite swearing under oath that she saw the man whose spray affected her, Exhibit R,

         Gorcenski testified that she did not in fact see the man spraying, but only a small

         altercation to her right.

      147. After reporting to Officer Smallwood that she was “sprayed in the eyes with pepper

         spray,” and then swearing under oath that she was only affected by pepper spray after a

         fight broke out to his right, Gorcenski testified that she “was affected specifically by the

         Beanyman spray,” despite being on the opposite corner of the monument, about 30 feet

         away, with several bodies and a cloud of Antifa pepper spray between them. [MP52;

         Gorcenski is the red circle; Cantwell is the blue oval.]

      148. After reporting to Officer Smallwood that she “felt the burning in my eyes of pepper

         spray or mace. Soon my mucus membranes burned and I had trouble breathing,” and

         swearing that “I inhaled/was affected by a chemical spray” and “the overspray affected




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         me directly. My eyes and sinuses were burning,” Gorcenski testified in court that “I recall

         having a burning sensation in my face and my eyes and my nose and my eyes started to

         water and I started to lose my vision.” She then again testified that she only “inhaled the

         substance and it started burning in my nose and eyes.”

      149. Despite video showing 21 seconds of Gorcenski retreating across the south face of the

         monument, taking a picture of Cantwell with his phone while doing so, being behind

         Cantwell when he was sprayed, reactivating her livestream on her phone, and walking

         unmolested out of the crowd while livestreaming, Gorcenski testified “I was

         incapacitated for a period of 15 to 30 seconds. Initially I just started seeing—feeling my

         eyes water. My initial reaction was to try to get to safety and to retrieve my phone which

         had been knocked out of my hand. Once I retrieved my phone, I tried to find a path to

         safety and could not see a way out.” [Emphasis added].

      150. Despite never before mentioning two spray events Gorcenski said for the first time that

         she was also affected by a second, separate event, which she saw on some video. Despite

         earlier swearing that she had not seen the man who sprayed on August 11, Gorcenski now

         claimed that she in fact saw Massey attack Cantwell, implying that this was a separate

         event from the Beanyman spray, even though the two events were at the same place and

         only five seconds apart: “I observed Mr. Cantwell reaching over a group spraying pepper

         spray into the group of people I was surrounded by.” By that time, Gorcenski had

         “reviewed videos.” In the video she referenced, Cantwell’s arm is seen up in the air for

         only 1/5 of a second.   In the Unicorn Riot video that Gorcenski reviewed, Cantwell’s

         arm is seen in the air for 4/5 of a second at maximum.




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      151. Despite video showing 21 seconds of Gorcenski retreating across the south face of the

         monument, taking a picture of Cantwell with the phone while doing so, being behind

         Cantwell when he was sprayed by Beanyman, reactivating her livestream on the phone,

         and walking unmolested out of the crowd while livestreaming, Gorcenski testified to

         different sequence of events that occurred after the second deployment: “After being

         impaired, I looked for a way out of the crowd knowing I had only a few seconds before I

         would completely lose my vision. I could not find a way out so I tried to take a couple of

         pictures with my phone…”

      152. Despite being mere feet away when Massey and Keenan sprayed, when Beanyman

         sprayed Haircut, and despite being within inches of Cantwell when Beanyman sprayed

         Cantwell, and despite being where “Antifa gassed themselves,” Gorcenski swore under

         oath that Cantwell was responsible for her spraying because “It was the closest to me and

         it was in a direction in which I was standing.”

      153. Despite video of Dragonarm’s spray in her direction, Gorcenski testified that she was

         not affected by Dragonarm’s spray because it was not in her direction and three feet

         further away than Cantwell’s.

   November 9, 2017- 6:00 p.m.

      154. On Goad’s charge, the Albemarle General District Court found as follows: “I order the

         accused discharged at preliminary hearing and the charge dismissed. Exhibit R, second

         page, upper left hand corner.

      155. On Gorcenski’s 18.2-52 charge, the Albemarle General District Court found as follows:

         “I order the accused discharged at preliminary hearing and the charge dismissed. Exhibit

         S. second page, upper left hand corner.




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      156. Later on November 9, 2017, Gorcenski commented that “Goad’s statements were also

         not found to be lies. They were statements discovered to be inaccurate ex post facto, and

         which due diligence was done to correct.” Gorcenski’s indifference to the fact that

         Cantwell had been jailed for months on the basis of “inaccurate” statements shows her

         malice against Cantwell.



   November 17, 2017

      157. After the malicious wounding by caustic substance charge was dismissed, Gorcenski

         disavowed her actions of swearing to and signing the warrant in Exhibit R: “My

         accusation was never that Christopher Cantwell approached me directly with deliberate

         intent to injure me.” In doing so, Gorcenski contradicted what was told to Sgt. Acord on

         August 17, 2017: “Once they made it to the statue by the North end of the rotunda, Emily

         recalls seeing a person being hit by a torch and could smell fuel just before being sprayed

         in the eyes with pepper spray.” Exhibit U. [Emphasis added]. Disavowing the

         prosecution that she bragged that she herself set afoot shows Gorcenski’s malice against

         Cantwell and her knowledge that her actions were wrongful.


      158. Despite signing the warrant for unlawful wounding by caustic substance on August 12,

         2017, Gorcenski now further disavowed her own actions: “My accusation was that he

         used it in a public space and that I was affected by it,” they said. “I didn’t actually need to

         know that charge. The police were able to work with the magistrate to look up what the

         appropriate charge was, based on [the officer’s] testimony and my testimony.”

         Disavowing the prosecution that she bragged that she herself set afoot shows Gorcenski’s

         malice against Cantwell and her knowledge that her actions were was wrongful.



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      December 7, 2017

      159. Plaintiff posted bond and was released from jail, having served 107 days of durance vile

         based on the false, fraudulent, and inconsistent statements of Goad and Gorcenski. Due

         to threats against his life from inmates, Cantwell was placed in solitary for about a

         month, and segregated after that. He endured daily threats from the Crips and the Bloods

         across the hall. One of the conditions of bond were that he reside at a secret address,

         which was not mentioned in court, but provided to the court on a piece of paper to keep it

         confidential.

      160. On December 20, 2017, Gorcenski discovered the city of the secret residence and

         tweeted it out to her 24,000 followers as a page from the docket of the Albemarle County

         Circuit Court webpage.

      161. On December 21, Gorcenski tweeted, “Cantwell under house arrest in Leesburg.”

      162. On January 15, 2018, Gorcenski commented on a report that Klan flyers had allegedly

         appeared in Leesburg, “I wonder who else is hanging out in Leesburg these days.”

      163. On February 17, 2018, at about 10.00 a.m., there was a knock on the door of the secret

         residence. Two persons were present. Another person, not Cantwell, answered the door.

         The two began haranguing, and then addressed the person who opened the door

         specifically by name, “-----, why is there so much hate in your heart?” The door was shut

         in their faces and locked. The two people walked directly back to their cars, not knocking

         on anyone else’s door. Cantwell immediately locked the door at all times and installed a

         video doorbell.

      164. On or about February 23, Gorcenski accessed the internet, found Gab.ai, a social media

         site, and created an account.




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      165. On or about February 23, 2018, Gorcenski accessed the internet, and accessed

         Cantwell’s website, only to find that Cantwell posted to his own blog a tweet from

         Gorcenski’s public twitter feed. Gorcenski contacted Robert Tracci, Esquire,

         Commonwealth’s Attorney for Albemarle County, claiming that Cantwell’s reposing of

         her tweet was contact and/or harassment, and demanding that Cantwell be arrested for

         violation of his bond.

      166. On or about March 1, 2018, Gorcenski accessed the internet, accessed Gab, hunted

         down Cantwell’s account, and then searched though his posts. She found one message

         that mentioned lies, and found another posted by someone other than Cantwell, that did

         mention her peripherally. Gorcenski again contacted Robert Tracci, Esquire,

         Commonwealth’s Attorney for Albemarle County, again claiming that the posts she

         herself sought out were indirect contact and/or harassment, and demanding Cantwell’s

         arrest for violating the conditions of bond.

      167. On March 13, 2018, the Commonwealth filed a Motion to Revoke or Modify bond,

         alleging that Cantwell’s use of GAB was intimidating and harassing Gorcenski.

      168. On or about March 30, 2018, the Commonwealth amended its Motion to Revoke or

         Modify Bond, this time on the additional grounds that Cantwell had violated the

         geographic conditions of his bond. On or about April 24, 2018, Central Virginia

         Monitoring provided evidence to the Commonwealth that Cantwell had not violated the

         geographic conditions of his bond.

      169. On April 26, 2018, the Commonwealth, by Robert Tracci Esquire, appeared in court and

         sought to revoke Cantwell’s bond on the grounds Cantwell had violated the geographic

         conditions of his bond, and that he had been intimidating and harassing Gorcenski by




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         exercising his right to free speech on GAB as set forth above. Gorcenski was present in

         the courtroom.

      170. Sgt. Acord testified that an FBI agent named “Veronica Marsh” had reported that

         Cantwell had been near Washington, D.C., and that he took tips from the FBI very

         seriously.

      171. Central Virginia Monitoring testified that Cantwell’s ankle bracelet recorded that he had

         not been near Washington DC.

      172. ‘Veronica Mars’ was a cable tv show from 2004 to 2007; “Veronica Mars FBI” was a

         film clip teaser for the fourth season, which was never made.

         http://veronicamars.wikia.com/wiki/Veronica_in_the_FBI

      173. In response to Commonwealth’s claim that Cantwell’s use of GAB (without any

         specific mention of her or anything mentioning her) was intimidating and harassing to

         Gorcenski, Cantwell pointed out that Gorcenski chose to access his GAB account,

         jumping through many hoops to do so. Gorcenski’s attempts to jail Cantwell for

         exercising his right to free speech show Gorcenski’s malice against him, and the lengths

         to which her malice will drive her.

      174. Cantwell’s bond was not revoked nor modified for alleged geographic nor Gorcenski

         related transgressions.

      175. In early May, Gorcenski announced her intention to permanently relocate to Germany.




                                     Claims for Relief
                                           First Cause of Action

                                    Conspiracy to Violate Civil Rights




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      176. On the morning of August 12, 2017, the minds of Gorcenski and Goad met to violate

         Cantwell’s constitutional rights. Gorcenski and Goad were motivated by an

         invidiously discriminatory animus towards Cantwell as a member of the class of whites

         who disagree with Defendants’ politics. The purpose of the meeting of the minds was

         to jointly falsely accuse him of felonies, and thereby deprive him of the equal

         enjoyment of his rights under the United States Constitution by fraudulently inducing

         his arrest and prosecution, in violation of the Fourth and Fifth Amendments as

         guaranteed by the Fourteenth Amendment. Cantwell lost his liberty for 107 days, and

         suffered diverse other injuries, and thereby was injured by the overt act of Gorcenski

         informing Goad that the bald guy in the Radical Agenda shirt was Chris Cantwell, and

         supported by the fact that Gorcenski had sworn out a warrant to that effect, resulting in

         Goad’s subsequent falsely swearing out a felony warrant against him, all in violation of

         42 U.S.C. 1985(3).


      177. Cantwell claims compensatory damages, punitive damages, costs and reasonable

         attorney’s fees, and asks that this Court temporarily restrain and then enjoin Gorcenski

         and Goad from any further violations.




                                      Second Cause of Action

                                       Malicious Prosecution

      178. Plaintiff reasserts and realleges the foregoing paragraphs as if fully set forth herein.

      179. Goad and Gorcenski initiated the prosecutions in Exhibits R and S, respectively. both

         of which terminated in a manner not unfavorable to the plaintiff.


      180. The prosecutions were without probable cause.



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      181. Goad and Gorcenski acted with actual malice.


      182. Plaintiff has had to expend monies to defend against Defendants’ claims, has had direct

         injury in the loss of present and future earnings and profits in his business, and has

         suffered injury to his reputation and good name.




                                       Third Cause of Action

                                          Abuse of Process

      183. Plaintiff reasserts and realleges the foregoing paragraphs as if fully set forth herein.


      184. Defendant Goad’s purpose in swearing under oath “Cantwell used a gel mase [sic]

         pepper spray at my face and cause [sic] me to lose my vision temporarily [sic]” and his

         other contradictory and false statements was to punish, vex and harass a political

         opponent rather than to bring an offender to justice. Defendant Gorcenski’s purpose in

         making false statements to police to obtain arrest warrants, her other contradictory and

         false statements, and her fabrication of evidence were to prevent Cantwell from speaking,

         and to punish, vex and harass a political opponent rather than to bring an offender to

         justice.



      185. Defendants Goad and Gorcenski’s alteration of their sworn testimony after meeting with

         the Commonwealth’s Attorney were acts in the use of process not proper in the regular

         prosecution of the proceedings. These actions were motivated by actual malice.




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      186. Plaintiff has had to expend monies to defend against Defendants’ claims, has had direct

         injury in the loss of present and future earnings and profits in his business, and has

         suffered injury to his reputation and good name.




                                       Fourth Cause of Action

                                         False imprisonment

      187. Plaintiff reasserts and realleges the foregoing paragraphs as if fully set forth herein.

      188. By making false statements under oath, based on tainted information, and by

         communicating this false information to the UVa Police, the magistrate, and the

         Albemarle County General District Court, Goad and Gorcenski caused the illegal

         detention of the Plaintiff’s person, by the unlawful execution of lawful process. These

         actions were motivated by actual malice.



      189. Plaintiff has had to expend monies to defend against Defendants’ claims, has had direct

         injury in the loss of present and future earnings and profits in his business, and has

         suffered injury to his reputation and good name.



      190. Plaintiff will elect his damages for this cause of action after the jury renders its verdict.




                                            Fifth Cause of Action

                                                   Stalking

                                         (Defendant Gorcenski only)




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      191. Plaintiff reasserts and realleges the foregoing paragraphs as if fully set forth herein.


      192. Va. Code 8.01-42.3 creates a civil action for stalking.


      193. By participating in the Antifa hit squad and the swatting at Wal Mart, by accosting

         Cantwell before the torchlight march, by taking a warrant out on him on August 12,

         2017, by filming him behind armed supporters on August 12, by fabricating evidence,

         by attempting to call down federal charges on Cantwell, by broadcasting the secret

         location, and by demanding Cantwell’s arrest for violation of bond conditions, and the

         other actions set forth above, Gorcenski on more than one occasion engaged in conduct

         directed at Cantwell with the intent to place him in reasonable fear of death or bodily

         injury. As shown by his defensive actions of warning the Antifa hit squad off, showing

         his firearm, cooperating with police, dismissing Gorcenski before the march, arming

         himself on August 12, and turning himself into police, Cantwell reasonably feared

         death or bodily injury from Gorcenski and her henchmen.


      194. By participating in the Antifa hit squad and the swatting at Wal Mart, by accosting

         Cantwell before the torchlight march, by taking a warrant out on him on August 12,

         2017, by filming him behind armed supporters on August 12, by fabricating evidence,

         by attempting to call down federal charges on Cantwell, by broadcasting the secret

         location, by the other actions set forth above, and by demanding Cantwell’s arrest for

         violation of bond conditions, Gorcenski on more than one occasion engaged in conduct

         that she knew or reasonably should know, that such conduct would place Cantwell in

         reasonable fear of death or bodily injury. As shown by his defensive actions of

         warning the Antifa hit squad off, showing his firearm, cooperating with police,




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         dismissing Gorcenski before the march, arming himself on August 12, and turning

         himself into police, Cantwell was reasonably feared death or bodily injury from

         Gorcenski and her henchmen.


      195. By insulting Gorcenski about drinking all night on the evening of August 11, 2017,

         before the torchlight march started, Cantwell gave Gorcenski actual notice that he did

         not wish to be contacted nor followed by Gorcenski.


      196. By participating in the Antifa hit squad and the swatting at Wal Mart, by accosting

         Cantwell before the torchlight march, by taking a warrant out on him on August 12,

         2017, by filming him behind armed guards on August 12, by fabricating evidence, by

         attempting to call down federal charges on Cantwell, by broadcasting the secret

         location, by the other actions set forth above, and by demanding Cantwell’s arrest for

         non-violation of bond conditions, Gorcenski continued to contact Cantwell directly

         and indirectly after said actual notice. As shown by his defensive actions of warning

         the Antifa hit squad off, showing his firearm, cooperating with police, dismissing

         Gorcenski before the march, arming himself on August 12, and turning himself into

         police, Cantwell reasonably feared death or bodily injury from Gorcenski and her

         henchmen.


      197. Pursuant to Va. Code 8.01-42.3, Cantwell may claim for compensatory damages,

         including the costs of the action, and punitive damages. Pursuant to Va. Code Sec.

         19.2-152.7 et seq., Cantwell asks that this court issue an emergency and permanent

         protective order.




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                                             Sixth Cause of Action

                                            Va. Code Sec. 8.01-42.1

      198. Plaintiff reasserts and realleges the foregoing paragraphs as if fully set forth herein.

      199. By participating in the Antifa hit squad and the swatting at Wal Mart, by accosting

          Cantwell before the torchlight march, by taking a warrant out on him on August 12, 2017,

          by filming him behind armed supporters on August 12, by attempting to call down

          federal charges on Cantwell, by broadcasting the secret location, by the other actions set

          forth above, and by demanding Cantwell’s arrest for violation of bond conditions,

          Gorcenski has subjected Cantwell to acts of intimidation, harassment, and violence

          directed against his person motivated by animosity against him because of his race, to

          wit: white.

      200. By falsely taking out a felony warrant on or about August 17, 2017, Defendant Goad

          has subjected Cantwell to acts of intimidation and harassment directed against his person

          motivated by animosity against him because of his race, to wit, white.



      201. Pursuant to that section, Cantwell claims damages, including punitive damages, and in

          the discretion of the court to an award of the cost of the litigation and reasonable

          attorneys' fees in an amount to be fixed by the court.


                                        PRAYER FOR RELIEF

       Wherefore, Plaintiffs respectfully request an award of the following relief:
   201. Damages in an amount in excess of $107,000 from each Defendant;
   202. Punitive damages in the amount of $350,000;
   203. Costs and reasonable attorney’s fees;
   204. Such other relief as to justice shall seem meet.




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   A JURY TRIAL IS DEMANDED


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